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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
V.
MATTHEW RYAN MILLER,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-145

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1512(c)(2)

(Obstruction of an Official Proceeding)
18 U.S.C. § 2

(Aiding and Abetting)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(d)

(Stepping, Climbing, Removing, or
Injuring Property on the Capitol Grounds)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, MATTHEW RYAN
MILLER, committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer, that is, officers from the United States Capitol Police Department and the
Metropolitan Police Department, lawfully engaged in the lawful performance of his/her official
duties incident to and during the commission of a civil disorder, and the civil disorder obstructed,
delayed, and adversely affected the conduct and performance of a federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, MATTHEW
RYAN MILLER, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States
Capitol without authority and committing an act of civil disorder and engaging in disorderly and
disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, MATTHEW RYAN
MILLER, using a deadly or dangerous weapon, that is, a fire extinguisher, did forcibly assault,
resist, oppose, impede, intimidate, and interfere with, an officer and employee of the United States,
and of any branch of the United States Government (including any member of the uniformed

services), and any person assisting such an officer and employee, that is, officers from the United
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States Capitol Police Department and the Metropolitan Police Department, while such officer or
employee was engaged in or on account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, MATTHEW RYAN
MILLER, did unlawfully and knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President and Vice President-elect were temporarily visiting,
without lawful authority to do so, and, during and in relation to the offense, did use and carry a
deadly and dangerous weapon, that is, a fire extinguisher.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)A))
COUNT FIVE

On or about January 6, 2021, within the District of Columbia, MATTHEW RYAN
MILLER, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact

impede and disrupt the orderly conduct of Government business and official functions and, during
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and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a fire

extinguisher.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, MATTHEW RYAN
MILLER, did knowingly, engage in any act of physical violence against any person and property
in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a fire extinguisher.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, MATTHEW RYAN
MILLER, willfully and knowingly engaged in disorderly and disruptive conduct in any of the
Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing

before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section’5104(e)(2)(D))
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COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, MATTHEW RYAN
MILLER, willfully and knowingly engaged in an act of physical violence within the United States
Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT NINE
On or about January 6, 2021, in the District of Columbia, MATTHEW RYAN MILLER,
stepped on, climbed on, removed, and in any way injured, a statue, seat, wall, fountain, and other
erection and architectural feature, and any tree, shrub, plant and turf in the United States Capitol
Grounds.

(Stepping, Climbing, Removing, or Injuring Property on the Capitol Grounds, in
violation of Title 40, United States Code, Section 5104(d))

A TRUE BILL:

FOREPERSON.

Crook Kj Shamed”
Attorney of the United States in
and for the District of Columbia.
